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                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF TENNESSEE
                             EASTERN DIVISION

UNITED STATES OF AMERICA,       )
                                )
           Plaintiff,           )
                                )
v.                              )     Cr. No. 17-10003-STA
                                )
STEPHEN WILLIAMS,               )
                                )
           Defendant.           )
______________________________________________________________________

                   ORDER AND NOTICE OF RESETTING
______________________________________________________________________

      The United States has moved this Court to continue the sentencing hearing in the

above matter.

      Wherefore, for good cause, the sentencing hearing is reset on October 30, 2018

at 1:30p.m.



      IT IS SO ORDERED this 18th day of October, 2018.



                                       s/S.Thomas Anderson
                                       HON. S. THOMAS ANDERSON
                                       CHIEF UNITED STATES DISTRICT JUDGE




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